                            UNITED STATES DISTRICT COURT FOR
                             THE DISTRICT OF MASSACHUSETTS
                                    BOSTON DIVISION


 ALIANZA AMERICAS, YANET DOE, PABLO DOE,
 and JESUS DOE, on behalf of themselves and all others
 similarly situated,
                  Plaintiffs,
          v.
 RONALD D. DESANTIS, Governor of Florida, in his
 official and personal capacities; JARED W. PERDUE,
 Secretary of the Florida Department of Transportation,
 in his official and personal capacities; LAWRENCE A. Civil Action No. 1:22-cv-11550-ADB
 KEEFE, Florida Public Safety Czar, in his official and
 personal capacities; JAMES UTHMEIER, Chief of Staff
 to Florida Governor, in his official and personal
 capacities; STATE OF FLORIDA; THE FLORIDA
 DEPARTMENT OF TRANSPORTATION; JAMES
 MONTGOMERIE; PERLA HUERTA; and VERTOL
 SYSTEMS COMPANY, INC.,
                  Defendants.

     ASSENTED-TO JOINT MOTION FOR EXTENSION OF TIME TO RESPOND TO
                             FEBRUARY 28
        Defendants State of Florida, Florida Department of Transportation, Governor Ronald D.
DeSantis, Secretary of Transportation Jared W. Perdue, Lawrence A. Keefe, James Uthmeier, James
Montgomerie, Perla Huerta, and Vertol Systems Company, Inc. (collectively, “Defendants”) move
this Court for an extension of time to respond to Plaintiffs’ First Amended Complaint to February
28, 2023. See Fed. R. Civ. P. 6(b).
        1.      Plaintiffs filed this lawsuit on September 20, 2022. See Doc. 1. Plaintiffs did not serve
the initial complaint on any Defendants. On November 29, Plaintiffs filed an 86-page First Amended
Complaint that added new defendants and claims. See Doc. 21. Plaintiffs began serving the First
Amended Complaint on Defendants on December 7, 2022.
        2.      On December 22, 2022, the State Defendants, Vertol Systems Company, Inc., and
James Montgomerie filed assented-to motions to extend the time to respond to January 31, 2023. That
same day this Court granted the motions. See Doc. 29.
       3.      Good cause exists for an extension of the January 31, 2023 deadline. As the First
Amended Complaint shows, this case presents a complicated range of allegations, legal issues, and
parties. Defendants seek additional time to research and investigate the claims raised in the First
Amended Complaint as well as potential defenses before answering, moving, or otherwise responding
to the pleading. In addition, several defendants have recently retained new counsel who will need
additional time to review and analyze those issues.
       4.      The requested extension will also allow Defendants to coordinate among themselves
to try to streamline the briefing and motions practice before this Court as much as possible.
       5.      For these reasons, there is good cause to grant an extension until February 28, 2023,
for all Defendants to respond to the First Amended Complaint.
       6.      Plaintiffs assent to this request.

       WHEREFORE, Defendants request an extension until February 28, 2023, to file their
responses the First Amended Complaint.




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Dated: January 25, 2023                         Respectfully submitted,
                                                /s/ Bryan Weir
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James Montgomerie                               Counsel for Perla Huerta

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                              CERTIFICATE OF CONFERENCE
        In accordance with Local Rule 7.1(a), I hereby certify that counsel for Defendants conferred
and attempted in good faith to resolve or narrow the issues set forth in this motion with Plaintiffs’
counsel, including via telephone and e-mail.


                                                        /s/ Bryan Weir

                                  CERTIFICATE OF SERVICE
        I hereby certify that I filed this document through the Court’s ECF system on January 25,
2023, which will therefore automatically be sent electronically to all counsel of record via the
CM/ECF system.


                                                        /s/ Bryan Weir




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